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From:                   Andre Van Mol
Sent:                   Saturday, May 7, 2022 8:04 PM EDT
To:                     Weida Jason; Matt.Brackett@ahca.myflorida.com; Devona.Pickle@ahca.myflorida.com
Subject:                Articles
Attachments:            LGBTQ+_ A Front For The Techno-Medical Complex.pdf,
                        Stryker Corporation and the Global Drive for Medical Identities.pdf,
                        The ACLU Gets Fat on Pharma and Tech Funding_Part II.pdf,
                        Martine Rothblatt A Founding Father of the Transgender Empire.pdf, ATT00005.txt


Hi, Jason, Devona, and Matt.

Besides the 3 article links already sent on who the financiers are for the trans movement, I�ve read through several
more today and think these 4 are the best of that lot for establishing the connection to big
pharma/biotech/philanthropy profiteering in the clothes of being rights advocates.




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